On motion to be made a party.
If the executors of the plaintiff (dying during the pendency of his suit) will not apply within two terms after his death, computing from the day of his death, and not from a suggestion entered by the defendant, the cause will abate, and the defendants be discharged from further attendance; but if after this the executors apply to be made parties by a sci. fa. or notice served on the defendants and they do not oppose it, and the plaintiffs be made parties by order of the court, it will be too late afterwards to move for an abatement, but the cause shall be tried.
See General Rule, 1 N.C. 88.
Cited: Hobbs v. Bush, 19 N.C. 511; Collier v. Bank, 21 N.C. 331;McLaughlin v. Neal, 25 N.C. 295; Lea v. Gauze, 26 N.C. 10; Borden v.Thorpe, 35 N.C. 301. *Page 84 